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IN THE UNITED sTATEs DISTRICT coURT 05J /; -
FoR THE WESTERN DISTRICT OF TENNESSEE 549 ..3 C°
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JoYcE THoMPSoN and husband, JIMMY ’»'f~ /`A/_'S 12<§,”~ 515
THOMPSON, ' ”45`%.3¢;,}/
Plaimiffs,
vs. No. 1-05-1042-T/An

HERBERT M. GRINN and CORINTH
COCA-COLA BOTTLING WORKS, INC.,

Defendants.

 

¢-QBBPGSEH§-
RULE 16(b) SCHEDULING ORDER

 

Pursuant to the Scheduling conference set by Written notice, the following dates are
established as the final dates for:

INITIAL DISCLOSURES (RULE 26(a)(1)): July 15, 2005

No later than 14 days after the date set for the Scheduling Conference unless a later date

is authorized by the Court due to special circumstances

JOINING PARTIES:

For Plaintiff: July 29, 2005
For Defendant: August 30, 2005
AMENDING PLEADINGS:

For Plaintiff: lilly 29, 2005
For Defendant: August 30, 2005

COMPLETING ALL DISCOVERY: Janua[y 31, 2006

Thls document entered on the docket sh et ln compilaan
with Rule 58 and,'or_?Q (a) FRCP on 42 2 lQ l f 25 5

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(a) REQUESTS FOR PRODUCTION, INTERROGATORIES and REQUESTS
ADMISSIONS: Januag 31, 2006

(b) EXPERT DIscLosURE (Ruie 26(a)(2))=

 

(i) Plaintiff’s Experts: October 7 2005
(ii) Defenda.nt’S Experts: November 9, 2005

(iii) Supplementation under Rule 26(e): November 18 2005

 

 

(c) DEPOSITIONS OF EXPERTS: December 9 2005
FILING DISPOSITIVE MOTIONS: Februar_\g 14, 2006

FINAL LIsrs oF wITNEsSEs ANI) EXHIBITS (Ruie 26(2)(3));

For Plaintitf: March 31, 2006
For Defendant: April 15, 2006

Parties shall have 10 days after service of final lists of witnesses and exhibits to file
objections under Rule 26(a)(3).

The trial of this matter is expected to last four (4) days and is SET for JURY TRIAL on
May 15, 2006, at 9:30 a.m. A joint pretrial order is due on Friday, May 5, 2006. In the event the
parties are unable to agree on a joint pretrial order, the parties must notify the Court at least ten
days before trial.

OTHER RELEVANT MATTERS:

Interrogatories, Requests for Production and Requests for Admissions must be submitted
to the opposing party in sufficient time for the opposing party to respond by the deadline for
completion of discovery. For example, if the FRCP allow 30 days for a party to respond, then the
discovery must be submitted at least 30 days prior`to the deadline for completion of discovery

Motions to compel discovery are to be filed and served by the discovery deadline or

Within 30 days of the default or service of the response, answer, or objection Which is the Subject

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of the motion if the default occurs within 30 days of the discovery deadline, unless the time for
filing of such motion is extended for good cause shown, or any objection to the default, response,
or answer shall be Waived.

The parties are reminded that pursuant to Local Rule 7(a)(1)(A) and (a)(l)(B)_, all
motions, except motions pursuant to FRCP 12, 56, 59, and 60, shall be accompanied by a
proposed Order and a Certificate of Consultation.

The opposing party may file a response to any motion filed in this matter. Neither party
may tile an additional reply, however, without leave of the court. If a party believes that a reply
is necessary, it shall file a motion for leave to file a reply accompanied by a memorandum setting
forth the reasons for which a reply is required

The parties may consent to trial before the Magistrate Judge. The Magistrate Judge can
normally provide the parties with a definite trial date that will not be continued unless a
continuance is agreed to by all parties, or an emergency arises which precludes the matter from
proceeding to trial.

The parties are encouraged to engage in court-annexed attorney mediation or
private mediation on or before the close of diseoverv.

This order has been entered after consultation with trial counsel pursuant to notice.
Absent good cause shown, the scheduling dates set by this Order will not be modified or
extended

IT IS SO ORDERED.

/

S. THOMAS ANDERSON
UNI'I`ED STATES MAGISTRATE JUDGE

Date: 02', ZOQ) l

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 8 in
case 1:05-CV-01042 was distributed by faX, mail, or direct printing on
June 6, 2005 to the parties listed.

 

 

J ames B. Summers

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Robert B. Vandiver

LAW OFFICES OF T. VERNER SMITH
112 N. Liberty

Jacl<son7 TN 38301

Honorable J ames Todd
US DISTRICT COURT

